               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                          CIVIL CASE NO. 1:11cv03


KEN ALVAREZ, et. al.,                                     )
                                                          )
                   Plaintiffs,                            )
                                                          )
                   vs.                                    )
                                                          )
JAMES ROBERT WARD, MICHAEL FLASKEY,                       )
ROBERT VACKO, PAUL BEIDEL, and                            )
DPB SOLUTIONS, LLC.,                                      )
                                                          )
                   Defendants.                            )
                                                      )


                         MEMORANDUM OF DECISION
                              AND ORDER

       THIS MATTER is before the Court on the following:

1.     The Defendants’ Motion to Dismiss Plaintiffs’ Complaint [Doc. 19];

2.     The Plaintiffs’ Motion to Defer Rulings on Defendants’ Motion to Dismiss

       Complaint and on Plaintiff’s Objections to the Memorandum and

       Recommendation of the Magistrate Judge [Doc. 34]; and

3.     The Plaintiffs’ Objections to the Memorandum and Recommendation of

       the Magistrate Judge [Doc. 35].

       Pursuant to 28 U.S.C. § 636(b) and the Standing Orders of Designation




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of this Court, United States Magistrate Judge Dennis L. Howell was

designated to consider the motion and to submit recommendations for its

disposition. On October 17, 2011, the Magistrate Judge filed a Memorandum

and Recommendation in which he recommended granting the motion to

dismiss and dismissing this action without prejudice. [Doc. 31]. The Plaintiffs

timely filed objections to that recommendation. [Doc. 35].

                             PROCEDURAL HISTORY

       On January 6, 2011, the Plaintiffs initiated this action alleging violations

of the Interstate Land Sales Act (ILSA), 15 U.S.C. §1703(a)(2), and state law

claims for unfair and deceptive trade practices, in violation of N.C. Gen. Stat.

§75-1.1 et seq., constructive fraud and negligent misrepresentation. [Doc. 1].1

The parties agree that their dispute arises from a real estate development

known as Grey Rock at Lake Lure. The Plaintiffs purchased lots in the

development which was presented as one intended to be a luxury resort with

commensurate amenities and infrastructure, but those features were never


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         Unless otherwise noted, all of the purported facts recited herein as well as those
recounted by the Magistrate Judge are taken from the Plaintiffs’ Complaint. The
Plaintiffs do not dispute the Magistrate Judge’s statement of the facts and have filed no
objections thereto. [Doc. 35 at 2-4]. The Defendants attached an Organization Chart to
its Motion to Dismiss which is based on the allegations contained within the Complaint.
[Doc. 20-1]. The chart contains the ownership and membership information concerning
the limited liability company LR Buffalo Creek, LLC which would otherwise have been
required by Carden v. Arkoma Associates, 494 U.S. 185, 110 S.Ct. 1015, 108 L.Ed.2d
157 (1990).

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completed. As a result, the Plaintiffs claim that their lots are worthless. In the

Complaint, the Plaintiffs do not state their dates of purchase of their lots. In

support of the motion to dismiss, however, the Defendants attached copies of

the deeds filed as a matter of public record at the time the Plaintiffs made

those purchases.2        [Doc. 21; Doc. 22].         The majority of the lots were

purchased in 2005; six were purchased in 2006; two were purchased in 2007;

and one lot was purchased in February 2008. [Id.].

      LR Buffalo Creek, LLC (Buffalo Creek) was the entity that developed the

property and sold the lots. It is not named as a defendant in this action

because on October 30, 2008, Buffalo Creek and its parent company, Land

Resource, LLC (Land Resource), filed for Chapter 11 bankruptcy protection

in the United States Bankruptcy Court for the Middle District of Florida.3 Land

Resource owns a 75% membership interest in Buffalo Creek and was the

manager thereof. The other members of Buffalo Creek are Euram Grey Rock


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       The Court may take judicial notice of matters in the public record in ruling on a
motion to dismiss for failure to state a claim without converting the motion to one for
summary judgment. Henson v. CSC Credit Services, 29 F.3d 280, 283 (7th Cir. 1994);
accord, Boateng v. InterAmerican University, Inc., 210 F.3d 56, 60 (1st Cir. 2000), cert.
denied 531 U.S. 904, 121 S.Ct. 245, 148 L.Ed.2d 176 (2000); Norfolk Federation of
Business Dist. v. H.U.D., 932 F.Supp. 730, 736 (E.D.Va. 1996) (court may consider
matters of public record), affirmed     F. App’x , 103 F.3d 119 (4th Cir. 1996).
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        Likewise, Land Resource was not named as a defendant herein. Plaintiffs
assert that at some unspecified later date, the Chapter 11 bankruptcies were converted
to Chapter 7 liquidation proceedings which remain pending.

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Associates, L.P.; Realan Investment Partners, LLLP [sic]; Weeks-Grey Rock,

LLC; Barrington H. Beach and DPB Solutions, LLC. [Doc. 20-1]. Only DPB

Solutions, LLC (DPB Solutions) has been named as a defendant in this action.

The parties have not advised whether the other members of Buffalo Creek

have filed bankruptcy.

     The individual defendants were each corporate officers of Land

Resource. Defendant Ward, who owns 79.9% of Land Resource, was the

president and founder thereof. Defendant Beidel was the vice-president of

acquisitions and development and the chief operating officer of Land

Resource as well as the manager of DPB Solutions, which has a membership

interest in Buffalo Creek. Defendant Flaskey was the chief executive officer

of Land Resource and Defendant Vacko was its chief financial officer.

     In the Complaint, the Plaintiffs allege that the individual defendants and

DPB Solutions were “co-developers of the subdivision” within the meaning of

ILSA and that they violated the statute. They also allege that the Defendants

violated the North Carolina Unfair and Deceptive Trade Practices Act and

committed common law constructive fraud and negligent misrepresentation.

The crux of each of these claims is that the named defendants divested

Buffalo Creek of all assets by making equity distributions to themselves and



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Land Resource as well as to the other members of Buffalo Creek who have

not been named as defendants. Specific amounts of such distributions are

alleged to have been paid to identified individuals and entities from January

1, 2005 through December 31, 2007. [Doc. 1 at 4-6]. A general allegation is

made that such distributions were also made in 2008. [Id. at 6-7].           The

Plaintiffs claim that the named defendants operated Buffalo Creek as a sham

corporation and as the alter ego of each defendant. In the Complaint, they

allege that

      [n]one of the Defendants herein is being sued solely because they
      participated in the management, control, or ownership of LR
      Buffalo Creek. Instead, they are being sued for personally
      profiting or allowing others to profit from the acts and conduct set
      forth in this Complaint, in circumstances that left the LLC [Buffalo
      Creek] a shell with no assets to perform its development
      obligations. Some of these disbursements occurred during a
      period when LR Buffalo Creek was insolvent, thereby giving rise
      to a fiduciary duty to creditors such as Plaintiffs[.]
                                        ...
      As LR Buffalo Creek was approaching insolvency, Defendants
      owed Plaintiffs a fiduciary duty.

[Doc. 1 at 7, 16]. It is noted that the Plaintiffs do not allege that any of the

individual Defendants were owners or managers of the developer, Buffalo

Creek, but rather were officers of the LLC that was the principal owner of

Buffalo Creek.

      The Magistrate Judge concluded that the Complaint must be dismissed

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without prejudice because the claims alleged therein constitute property of the

bankruptcy estate of Buffalo Creek and Land Resource; to the extent that the

Plaintiffs have claims regarding the development they are claims against

Buffalo Creek, and Plaintiffs may recover from the Defendants herein only to

the extent that the Bankruptcy Trustee recovers those assets from the

Defendants. The Plaintiffs timely filed objections which, they concede, “boil

down to a single proposition: that the Plaintiffs’ claims are not the property of

the bankruptcy estate, but of the plaintiffs themselves.” [Doc. 35 at 5].

                          STANDARD OF REVIEW

      A district court reviews specific objections to a Memorandum and

Recommendation under a de novo standard. 28 U.S.C. §636(b). "Parties

filing objections must specifically identify those findings objected to." Battle

v. United States Parole Commission, 834 F.2d 419, 421 (5th Cir.1987),

overruled on other grounds Douglass v. United Ervs. Auto. Ass’n, 79 F.3d

1415 (5 th Cir. 1996). If a party makes only general objections, de novo review

is not required. Wells v. Shriners Hospital, 109 F.3d 198, 200 (4th Cir.

1997)(boilerplate objections will not avoid the consequences of failing to

object altogether).   “Section 636(b)(1) does not countenance a form of

generalized objection to cover all issues addressed by the magistrate judge;



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it contemplates that a party’s objection to a magistrate judge’s report be

specific and particularized, as the statute directs the district court to review

only those portions of the report or specified proposed findings or

recommendations to which objection is made.” United States v. Midgette, 478

F.3d 616, 621 (4 th Cir. 2007), cert. denied 551 U.S. 1157, 127 S.Ct. 3032, 168

L.Ed.2d 749 (2007) (emphasis in original). Likewise, merely reiterating the

same arguments made in the pleading submitted to the Magistrate Judge

does not warrant de novo review. Id.; Veney v. Astrue, 539 F.Supp.2d 841,

846 (W.D.Va. 2008). In order “to preserve for appeal an issue in a magistrate

judge’s report, a party must object to the finding or recommendation on that

issue with sufficient specificity so as reasonably to alert the district court of the

true ground for the objection.” Midgette, 478 F.3d at 622.

      The Court has reviewed the standard of review applied by the

Magistrate Judge to the Defendants’ motion to dismiss for failure to state a

claim pursuant to Federal Rules of Civil Procedure 9 and 12(b)(6). The Court

finds his recitation thereof is an accurate statement of the law and, the

Plaintiffs having filed no objection thereto, adopts it.




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                                       DISCUSSION

The Plaintiffs’ Objections to the Memorandum and Recommendation.

      As previously noted, the Magistrate Judge found that the claims raised

by the Plaintiffs in this action belong to the bankruptcy estate of Buffalo Creek

and Land Resource. The Plaintiffs concede the issue is discreet: whether

their claims are property of this estate instead of personal to them.

      The Court first notes that “limited liability companies and similar entities

... fall under the definition of a corporation in the Bankruptcy Code §101.” In

re The Northern Outer Banks Associates, LLC, 2010 WL 4630348 **2

(Bkr.E.D.N.C. 2010). A limited liability company “is owned by members who

have the same protection from liability as shareholders of a corporation.” Id.,

at n.1 (quoting 2 Collier on Bankruptcy, §101.09 (Alan N. Resnick & Henry

J.Sommer eds. 16 th ed. 2009)) (other internal quotations and citations

omitted). Thus, the law applies to limited liability companies in the same way

it applies to corporations. Id.; In re Zephyr Land Holdings, LLC, 2011 WL

5909464 (Bkr.E.D.N.C. 2011).4

      The filing of bankruptcy creates an estate consisting of all the
      debtor’s property, including all legal or equitable interests of the
      debtor in property as of the commencement of the case. 11
      U.S.C. §541(a)(1). Section 541(a)(1) is interpreted broadly.

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          The parties implicitly concede this point by citing cases involving corporations.

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      Property of the estate includes all of the debtor’s interests in any
      cause of action that has accrued prior to the bankruptcy petition.
      And ‘all,’ ... means ‘all’. When a corporation files bankruptcy, the
      bankruptcy estate succeeds to the corporation’s rights against its
      directors. When an action is personal to a creditor, however, it is
      not property of the estate. State law determines whether a right
      to sue belongs to the debtor pursuant to Section 541(a) or to the
      individual creditor.
                                        ...
      In North Carolina, the directors of a corporation generally owe a
      fiduciary duty to the corporation, and when it is alleged that the
      directors have breached this duty, only the corporation may sue,
      not a creditor or a shareholder.
                                       ...
      In North Carolina, directors of a corporation do not owe a fiduciary
      duty to the creditors of the corporation. Thus, when the creditors
      of an insolvent corporation share an injury based on a common
      act, only a receiver or trustee has standing to assert the creditors’
      collective claim against the directors of the corporation. A single
      creditor may not individually maintain a general action against a
      corporation’s directors and officers if that creditor shares that
      injury common to all creditors and has personally been injured
      only in an indirect manner. Thus, where fraud or negligent
      mismanagement of a corporation’s business by its directors has
      resulted in a loss to the corporation and its creditors generally, the
      right of action belongs to the corporation, and an action against
      the directors may be maintained only in the name of the
      corporation for the benefit of all creditors.

In re Bostic Construction, Inc., 435 B.R. 46, 60-62 (Bkr.M.D.N.C. 2010)

(emphasis in original)(internal quotations and citations omitted); 5 Collier on

Bankruptcy §541.07[5].

      The Plaintiffs seek to avoid this clear statement of the law by asserting

that the actions of the Defendants occurred and/or continued after Buffalo

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Creek was insolvent. It is correct that in North Carolina, although the officers

and directors of a corporation do not owe a fiduciary duty to creditors, an

exception exists if the circumstances amount to a dissolution of the

corporation.    Bostic, 435 B.R. at 62.         Where the officers and directors

“continue to operate an insolvent corporation only to recover amounts owed

to them, to the detriment of the corporation’s other creditors, North Carolina

courts equate that to a winding up or dissolution and find that the directors

and officers owe a fiduciary duty to creditors.” Id.

      Here, however, the Plaintiffs’ allegations are that the Defendants

“looted” Buffalo Creek from the beginning of the venture. Although couched

in terms of separate claims, the essence of each is that the Defendants

divested Buffalo Creek of assets by diverting the same to themselves instead

of using assets to complete the development. 5               The allegations of the

Complaint, moreover, do not make specific claims that sums were diverted

while the corporation was insolvent. Instead, the allegations are general:

“Some of these disbursements occurred during a period when LR Buffalo



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        The Plaintiffs also claim that the Defendants are the alter egos of the company.
They have conceded, however, that whether these claims may be pursued by them
while the company is in bankruptcy is a matter of state law. [Doc. 35 at 5]. In North
Carolina, alter ego claims belong to the bankrupt estate and may only be prosecuted by
the trustee. Holcomb v. Pilot Freight Carriers, Inc., 120 B.R. 35, 41-42 (M.D.N.C. 1990).

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Creek was insolvent, thereby giving rise to a fiduciary duty to creditors such

as Plaintiffs[.] ... As LR Buffalo Creek was approaching insolvency,

Defendants owed Plaintiffs a fiduciary duty.” [Doc. 1 at 7, 16] (emphasis

provided).

      Where a creditor of a corporation has sustained an identifiable
      loss peculiar and personal to himself by reason of the fraud or
      negligent mismanagement of the corporation’s business by its
      directors, he has a cause of action against the directors for the
      recovery of his personal loss, which will inure to him personally
      and not to the other creditors of the corporation.

Ford Motor Credit Co. v. Minges, 473 F.2d 918, 920-21 (4 th Cir. 1973).

But, a “claim is personal only if the creditor itself is harmed and no other

creditor has an interest in the claim.” Bostic, 435 B.R. at 63. When all of the

creditors of an insolvent or bankrupt corporation share an injury based on

common acts of the officers and directors, only the trustee in bankruptcy has

standing to assert the creditors’ collective claim against the directors on behalf

of the corporation. Angell v. Kelly, 336 F.Supp.2d 540, 544-45 (M.D.N.C.

2004). The Complaint in this case names one hundred and one separate

Plaintiffs, each of whom claims to be a creditor who shares the injuries

alleged, injuries which are identical and which are based on the common acts




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of the Defendants.6 Id. (citing National Am. Ins. Co. v. Ruppert Landscaping

Co., 187 F.3d 439, 441 (4 th Cir. 1999), cert. denied 528 U.S. 1156, 120 S.Ct.

1162, 145 L.Ed.2d 1073 (2000)). The common acts of the Defendants which

allegedly give rise to these claims, including fraudulently transfering the

assets of the company, would be breaches of the duty owed to Buffalo Creek,

not to any particular individual creditor.7 Id. (citing Underwood v. Stafford, 270

N.C. 700, 703, 155 S.E.2d 211 (1967). Although the Plaintiffs have attempted

to avoid this result by alleging that the members of the LLC owed them a

fiduciary duty which arose at such time as Buffalo Creek became insolvent,

the allegations are non-specific as to time, place, amounts and creditors.8

There is nothing in the Complaint from which one could discern such personal

claims. Moreover, when the creditors of an insolvent company share the

injury based on common acts, it is not personal to any one creditor. In re

Bostic, 435 B.R. at 63; Bradson Mercantile, Inc. v. Vanderbilt Indus.


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       The Complaint does not contain an allegation that these Plaintiffs are the
owners of every lot sold and thus, other such owners would also be creditors of Buffalo
Creek.
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        The Plaintiffs’ reliance on Keener Lumber Co., Inc. v. Perry, 149 N.C.App. 19,
560 S.E.2d 817 (2002), disc. review denied 356 N.C. 164, 568 S.E.2d 196 (2002), is
thus inapposite since in that case there was a fiduciary duty owed directly to the
creditor, not the corporation. Id. at 26-7.
       8
      Indeed, the Plaintiffs did not file an objection to the Magistrate’s
recommendation in this regard.

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Contracting Corp., 883 F.Supp. 37, 54-5 (W.D.N.C. 1995) (where fraud and

mismanagement result in loss to the corporation and its creditors generally,

cause of action belongs to corporation and may be maintained only in

corporation’s name if it is insolvent).

      To allow selected creditors to artfully plead their way out of
      bankruptcy court would unravel the bankruptcy process and
      undermine an ordered distribution of the bankruptcy estate. ...
      Reserving the action for the trustee maintains the integrity of the
      bankruptcy proceeding and ensures that individual creditors
      cannot hijack the bankruptcy process.

Ruppert, 187 F.3d at 442. Such is the case here and the Court will therefore

grant the motion to dismiss and will dismiss the action without prejudice.



The Plaintiffs’ Motion to Defer.

      The Plaintiffs’ Objections were actually filed as an alternative to their

request that the Court defer any ruling on the motion to dismiss. According

to Plaintiffs’ counsel, the Bankruptcy Trustee has agreed to assign the interest

of the bankruptcy estate in the claims to the Plaintiffs in this action. [Doc. 35

at 2]. For the reasons stated herein, the Plaintiffs do not have standing to

bring this action; only the bankruptcy trustee would have standing. Ruppert,

187 F.3d at 441.      Therefore, this Court does not have subject matter

jurisdiction over the action. Ellenburg v. Spartan Motors Chassis, Inc., 519

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F.3d 192, 196 (4 th Cir. 2008) (District courts have an independent obligation

to address subject matter jurisdiction and may raise it sua sponte.). Since the

Court does not have subject matter jurisdiction, it may not defer ruling on the

Motion to Dismiss. It cannot grant a stay if it does not have the jurisdiction to

address the case at all.

      In any event, the parties have placed nothing before this Court showing

that the Trustee has assigned the claims or that no other creditors have

objected thereto. Ruppert, 187 F.3d at 441-42; Fed.R.Bankr.P. 6007. Nor

have they shown that the United States Bankruptcy Court for the Middle

District of Florida has approved any such assignment. Id.; Fed.R.Bankr.P.

9019. Since this goes to a jurisdictional issue and the Plaintiffs have the

obligation to demonstrate that the Court has subject matter jurisdiction over

their claim, Adams v. Bain, 697 F.2d 1213, 1219 (4 th Cir. 1982); Richmond,

Fredericksburg & Potomac RR Co. v. United States, 945 F.2d 765, 768 (4 th

Cir. 1991), this failure on the part of the Plaintiffs is fatal. The motion to defer

is therefore denied.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Plaintiffs’ Objections to the

Memorandum and Recommendation of the Magistrate Judge [Doc. 35] are

hereby REJECTED.


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     IT IS FURTHER ORDERED that the Defendants’ Motion to Dismiss

Plaintiffs’ Complaint [Doc. 19] is hereby GRANTED and this action is

dismissed without prejudice.

     IT IS FURTHER ORDERED that the Plaintiffs’ Motion to Defer Rulings

on Defendants’ Motion to Dismiss Complaint and on Plaintiff’s Objections to

the Memorandum and Recommendation of the Magistrate Judge [Doc. 34] is

hereby DENIED.

                                     Signed: January 12, 2012




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